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Dear Ms. Orr,

Enclosed is my letter of reference for Matthew Lindner. Please contact me with any
suggestions for additions/deletions to it.

Thank you for helping my friends, the Lindners.

Cad,
DU ban

Paul D. Urban

P. O. Box 174
Harper, TX 78631
830-459-3087
JaPURIX 4,.3826,.10354-WGY Document 62-7 Filed 02/15/24 Page 2 of 2

Hon. William G. Young

United States District Judge
United States Federal Courthouse
1 Courthouse Way

Boston, Massachusetts 02210

RE: Matthew Lindner
Dear Judge Young,

| have known Matthew since the day he was born. You see, | was a banker in Comfort, Texas, a
small rural town, for forty-one and a half years. During that time, | had the pleasure of having the

Lindner family, including Matthew, as my customers. Matthew always handled his banking
business satisfactorily.

Matthew is well known and thought of in Comfort. He is a hard worker and can be relied on to do
his job correctly and as instructed. He takes pride in his work but isn’t boastful.

He enjoyed success in high school football, so much so that he was recruited by Texas Christian
University in Ft. Worth, Texas to play football for them. He was a starter and once again did his job,
playing football, as instructed but the results were far different from his work. College football can
be a cruel experience physically and Matthew encountered his fair share of injuries including
concussions. I’m not a doctor but | do know that concussions are considered a very serious injury
that can have a lasting impact on a person.

Family and friends are vitally important to Matthew. He is the father of two beautiful children whom
he loves deeply. He provides for them as a father should and is a good role model, teaching them
right from wrong based on his life experiences.

Thank you for allowing me the opportunity to share this information with you.

Cea tnh-

Paul D. Urban

P.O. Box 174

Harper, TX 78631-0174
January 2, 2024

